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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. FARBER2015 OK 66Case Number: SCBD-6300Decided: 11/10/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 66, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 




ORDER STAYING IMMEDIATE INTERIM SUSPENSION


¶1 On October 19, 2015, this Court entered an Order of Immediate Interim Suspension. Respondent filed his response on November 4, 2015, and requested the immediate reinstatement of his license. Under this Court's previous Order, the Complainant has until November 20, 2015, to respond.

¶2 Having reviewed the response, this Court orders that the Order of Immediate Interim Suspension be stayed until further proceedings in this matter.

¶3 DONE BY ORDER OF THE SUPREME COURT this 10th day of November, 2015.


/S/CHIEF JUSTICE





STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
S. RICHARD FARBER, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Information (with Supplemental Information for Second and Subsequent), and Deferment, in which S. Richard Farber entered pleas of No Contest to one count of Driving a Motor Vehicle While Under the Influence of Alcohol, a misdemeanor, in violation of Okla. Stat. Tit. 47, § 11-902(A)(2), and to one count of Unlawful Possession of Drug Paraphernalia, in violation of Title Okla. Stat. Tit. 63, § 2-405, a misdemeanor.

¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court."

¶3 On September 14, 2015, this Court issued a Show Cause Order directing Respondent to show cause, no later than September 25, 2015, why an order of interim suspension from the practice of law should not be entered. Respondent failed to respond and provided no cause why an order of interim suspension should not be entered. The OBA then requested an order of immediate suspension pending a hearing on the imposition of a final order of discipline. Having received certified copies of the papers and orders under Rule 7.3, and in view of Respondent's failure to respond to this Court's Show Cause Order, this Court orders that S. Richard Farber is immediately suspended from the practice of law.

¶4 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, S. Richard Farber has until November 4, 2015, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until November 20, 2015, to respond.

¶5 DONE BY ORDER OF THE SUPREME COURT this 19th day of October, 2015.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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